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                                                   September 12, 2023
           VIAECF

           Hon. Nicholas G. Garaufis
           United States District Comt Judge
           Eastern District of New York
           225 Cadman Plaza East
           Comtroorn 4D South
           Brooklyn, NY 11201

                  Re:    United States v. Daskal, 21-cr-110 (NGG)

           Dear Judge Garaufis:

                  We represent defendant Jacob Daskal in the above-referenced matter. We write to
           respectfully request permission for Mr. Daskal to b.'avel outside of his home to attend extended
           synagogue services on Monday September 25, 2023, which is the Jewish holiday of Yorn Kippur.
           Mr. Daskal will attend services at his synagogue, Congregation Shaarei Zion ofBobov, located at
           4715 15th Avenue in Boro Park, Brooklyn.

                  We have conferred with Pretrial Se1vices who consent to this request, and with counsel for
           the government (AUSA Reid) who defers to Pretrial Services regarding this request.

                                                  Respectfully Submitted,


                                                          /s/IH
                                                  Henry E. Mazurek
                                                  Ilana Haramati

                                                  Counsel for Defendant Jacob Daskal

           cc:    Counsel of Record (via ECF)                Application granted.
                  Pretrial Services (via Email)              So,OrdsrAti_
                                                              s/Nicholas G. Garaufis
                                                            Ho             J G. Garaufis
                                                            Date:    ~ I 31 L   3
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